                    Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 1 of 7

GAS 2458         (Rev. 09/11) Judgment in a Criminal Case
DC Custody TSR. Sheet I



                                           UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                          STATESBORO DIVISION
              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                   V   .



                     Almonta Montez Moore
                    aka "Monte," aka "Black"                                          Case Number:           6:1 5CR0000 1-7

                                                                                      USM Number:            19396-021

                                                                               )      Tina M. Hesse
                                                                                      Defendant's Attorney
THE DEFENDANT:
ED pleaded guilty to Counts 24 and 25
El pleaded nolo contendere to Count(s)                         which was accepted by the court.
El was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                  Offense Ended             Count

21 U.S.C. § 843(b)                Use of a communication facility                                                    August 9, 2014              24

21 U.S.C. § 843(b)                Use of a communication facility                                                   August 11, 2014              25

      The defendant is sentenced as provided in pages 2 through 7 - of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
El The defendant has been found not guilty on Count(s)              -
    Count 1 is dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this d                 /within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments impo              this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of materialt1                in economic circumstances.




                                                                                          Jude



                                                                              L-MA GODBEY WOOD, CHIEF JUDGE
                                                                              UNITED STATES DISTRICT COURT
                                                                              SOUTHERN DISTRICT OF GEORGIA
                                                                              Name and Title of Judge




                                                                                       1v                     I 2-o I
                                                                              Dalc
                      Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 2 of 7
GAS 245B              (Rev. 09/11) Judgment in a Criminal Case                                                              Judgment— Page 2 of 7
DC Custody TSR        Sheet 2– Imprisonment

DEFENDANT:                   Almonta Montez Moore
CASE NUMBER:                 6:1 5CR00001-7


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 92
           months. This term consists of 46 months as to Count 24 and a term of 46 months as to Count 25, to be served consecutively to
           produce a total term of 92 months. This total term shall also be served consecutively to any state term imposed upon the
           revocation of the terms in Evans County (Georgia) Superior Court Docket Numbers 201 3R04 1 RO and 201 3R042R0.

           The court makes the following recommendations to the Bureau of Prisons:
           It is recommended that the defendant be evaluated by Bureau of Prisons officials to establish his participation in an appropriate
           program of substance abuse treatment and counseling during his term of incarceration. Further, the Court recommends that the
           defendant be designated to the appropriate Bureau of Prisons facility in Jesup, Georgia; subject to space and security.

           The defendant is remanded to the custody of the United States Marshal.

     El    The defendant shall surrender to the United States Marshal for this district:
          E      at                                  D a.m.          D p.m.          on
          0      as notified by the United States Marshal.

     0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          0      as notified by the United States Marshal.
          0      as notified by the Probation or Pretrial Services Office.


                                                                        11lNSJ1l
I have executed this judgment as follows:




          Defendant delivered on                                                               to

at                                                          with a certified copy of this judgment.

                                                                                                      --
                                                                                                              UNITED STATES MARSHAL



                                                                                By
                                                                                                           DEPUTY UNITED STATES MARSHAL
                      Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 3 of 7
GAS 245B              (Rev. 09/11) Judgment in a Criminal Case                                                                Judgment - Page 3 017
DC Custody TSR        Sheet 3— Supervised Release

DEFENDANT:                   Almonta Montez Moore
CASE NUMBER:                 6:I5CR0000I-7


                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 1 year. This term consists of terms of 1 year
supervised release as to Count 24 and 1 year supervised release as to Count 25, to be served concurrently to produce a total term of 1 year.
         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
El
           substance abuse. (check, ([applicable.)
           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.              (Check, ((applicable.)

IZI        The defendant shall cooperate in the collection of DNA as directed by the probation officer.         (Check, ((applicable)

           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,                  et
C3         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qualifying offense.   (Check, ((applicable)

El         The defendant shall participate in an approved program for domestic violence.       (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
      1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
 10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
 12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
           confirm the defendant's compliance with such notification requirement.
 14) any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
                 Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 4 of 7
GAS 245B         (Rev. 09/I1) Judgment in a Criminal Case                                           Judgment - Page 4 of 7
DC Custody TSR   Sheet 3C - Supervised Release

DEFENDANT:              Almonta Montez Moore
CASE NUMBER:            6:1 5CR0000I-7


                                        SPECIAL CONDITIONS OF SUPERVISION
         1. The defendant shall participate in a program of testing for drug and alcohol abuse. Further, the defendant shall
            not tamper with any testing procedure.

        2. The defendant shall submit his person, property, house, residence, office, papers, vehicle, computers (as defined
           in 18 U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media, to a search
           conducted by the United States Probation Officer at a reasonable time and in a reasonable manner, based upon
           reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
           search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
           subject to searches pursuant to this condition.




                                                            ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



  (Signed)
                  Defendant                                                       Date




                  U.S. Probation Officer/Designated Witness                       Date
                  Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 5 of 7
GAS 245B          (Rev. 09/I1) Judgment in a Criminal Case                                                            Judgment - Page 5 of 7
DC Custody TSR    Sheet 5—Criminal Monetary Penalties

DEFENDANT:               Almonta Montez Moore
CASE NUMBER:             6:I5CR0000I-7


                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                           Fine                             Restitution
TOTALS            $   200                                                  None                             N/A

El     The determination of restitution is deferred until                               . An Amended Judgment in a Criminal Case (AO 245C)
       will be entered after such determination.

El     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal
       victims must be paid before the United States is paid.

Name of Payee                                Total Loss *                          Restitution Ordered                Priority or Percentage




TOTALS                              $                                         $

El     Restitution amount ordered pursuant to plea agreement $

El     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

El     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       J the interest requirement is waived for the            El   fine          0 restitution.
      El   the interest requirement for the          El fine        0 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                   Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 6 of 7
GAS 245B           (Rev. 09/11) Judgment in a Criminal Case                                                                  Judgment - Page 6 of 7
DC Custody TSR     Sheet 7— Denial of Federal Benefits

DEFENDANT:                Almonta Montez Moore
CASE NUMBER:              6:15CR0000I-7


                                                         SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A     Z Lump sum payment of$ 200 due immediately.
           F-1 not later than                                       , or
           F1 in accordance 0 C, El D,                        0 E, or      0 F below; or
B     El Payment to begin immediately (may be combined with                    El C,        El D, or          0 F below); or
C     El Payment in equal _, weekly, monthly, quarterly) installments of $                                                    over a period of
                          (e.g., months or years), to commence              __ - e.g., 30 or 60 days)
                                                                                   (                  after the date of this judgment;  or

D     0 Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $           -              over a period of
                          (e.g., months or years) , to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
E     0 Payment during the term of supervised release will commence within               ______ (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     El Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3572(d)(3), the defendant shall notify the Court of any material change in the defendant's economic circumstances
that might affect the defendant's ability to pay the fine.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0      Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



       The defendant shall pay the cost of prosecution.
       The defendant shall pay the following court cost(s):
       The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                    Case 6:15-cr-00001-LGW-CLR Document 314 Filed 04/18/16 Page 7 of 7
GAS 245B            (Rev. 09/11) Judgment in a Criminal Case                                                      Judgment - Page 7 of 7
DC Custody TSR      Sheet 7—Denial of Federal Benefits

DEFENDANT:                    Almonta Montez Moore
CASE NUMBER:                  6:ISCR00001-7


                                                     DENIAL OF FEDERAL BENEFITS
                                             (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

         IT IS ORDERED that the defendant shall be:

      ineligible for all federal benefits for a period of _years

£3    ineligible for the following federal benefits for a period of
      (spec(/j' benefit(s))


                                                                      [iJ

£3    Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances,
      IT IS ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

      IT IS ORDERED that the defendant shall:

0     be ineligible for all federal benefits for a period of

0     be ineligible for the following federal benefits for a period of

      (spec(/j' benefit(s))



     0     successfully complete a drug testing and treatment program.

     0     perform community service, as specified in the probation and supervised release portion of this judgment.

     0     Having determined that this is the defendant's second or subsequent conviction for possession of a controlled substance,
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in
           this judgment as a requirement for the reinstatement of eligibility for federal benefits.


Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:

                                 U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
